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                             UNITED STATES DISTRICT COURT

                              DISTRICT OF MASSACHUSETTS



JENNIFER MECIJA, individually    )              MDL DOCKET NO.: 1629
and as guardian ad litem for     )              LEAD CASE NO.: 1:04-CV-10981-PBS
JHOANNE MECIJA, a minor, and     )              CIVIL ACTION NO: 8:06-cv-293
JEFFREY MECIJA, all individually )              DIST. OF MA NO.: 1:06-cv-11445-PBS
and as successors in interest to )              JUDGE PATTI B. SARIS
ESTATE OF HENRY C. MECIJA,       )
                                 )
                  Plaintiffs,    )              [PROPOSED] ORDER RE
                                 )              DEFENDANT JAMES P. HALL,
       v.                        )              D.O.’S MOTION FOR REMAND TO
                                 )              CALIFORNIA SUPERIOR COURT
PFIZER INC., PARKE-DAVIS, a      )              IN ORANGE COUNTY
division of Warner-Lambert       )              [FILED CONCURRENTLY WITH
Company and Warner-Lambert       )              MOTION FOR REMAND]
Company LLC, WARNER-             )
LAMBERT COMPANY LLC,             )
WARNER-LAMBERT COMPANY, )
JAMES P. HALL, D.O., and Does 1- )
100,                             )
                                 )
                  Defendants.    )



           Upon consideration of Defendant James P. Hall, D.O.’s (“Dr. Hall”)Motion for

Remand to Orange County Superior Court, all other pleadings, supporting papers, and

declarations, and for good cause shown:

///



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 [PROPOSED] ORDER RE DEFENDANT JAMES P. HALL, D.O.’S MOTION FOR REMAND
131635.1    TO CALIFORNIA SUPERIOR COURT IN ORANGE COUNTY
       Case
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           IT IS ORDERED that Dr. Hall’s Motion for Remand to Orange County Superior

Court is GRANTED;


Date:______________________            ___________________________________
                                       HONORABLE PATTI B. SARIS
                                       UNITED STATES DISTRICT JUDGE



                                       Submitted by:
                                       Attorneys for Defendant James P. Hall, D.O.
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                               CERTIFICATE OF SERVICE

           I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non registered participants on

September 15, 2006.

DATED: September 15, 2006               /s/ Julia P. Cheng
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of Henry C. Mecija


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